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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                             CRIMINAL ACTION

VERSUS                                               NO. 13-194

STOKLEY AUSTIN                                       SECTION "B”(3)


                           ORDER AND REASONS


      Before the Court is Defendant Stokley Austin’s “Verified

Motion for Default Judgment.” Rec. Doc. 190. For the reasons

discussed below,

      IT IS ORDERED that the motion is DENIED.

      In an eight-count indictment filed on September 5, 2013,

Defendant was charged in four counts. Rec. Doc. 31. Count 1 charged

him   with   conspiracy   to    distribute   cocaine    hydrochloride      and

cocaine base, in violation of 21 U.S.C. § 846; Count 4 charged him

with possession with the intent to distribute 500 grams or more of

cocaine hydrochloride and cocaine base, in violation of 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(B), and 841(b)(1)(C); Count 6 charged him

with possession of firearms in furtherance of a drug trafficking

crime, in violation of 18 U.S.C. § 924(C)(1)(a)(i); and Count 8

charged him with possession of a firearm by a convicted felon, in

violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). Id.

      On September 22, 2014, Defendant pled guilty to all four

counts. On February 25, 2015, after a pre-sentence investigation
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was completed, Defendant was sentenced to twenty-five years in

prison, to be followed by ten years of supervised release. Rec.

Doc. 161 at 3-4. The following day, Defendant appealed to the Fifth

Circuit (Rec. Doc. 164), which affirmed this Court’s judgment on

March 7, 2016 (Rec. Doc. 189).

      Defendant filed the instant motion on December 13, 2016. Rec.

Doc. 190. In the motion, Defendant makes several claims, including

an allegation that this Court lacked subject matter jurisdiction,

that this Court’s failure to inform Defendant of the nature of

this Court’s jurisdiction was a denial of due process under the

“6th and 14th Amendments,” and that such denial of due process

deprives this Court of jurisdiction. Id. at 2. Defendant also

claims that a “Verified Petition and Brief to Vacate Judgment” was

filed with this Court and served on the United States on or about

August 4, 2016 “by a third party.” Id. Because more than twenty

days have passed since the United States was supposedly served and

“no evidence has been placed on the record of the court to prove

the   court   had   any   subject   matter     jurisdiction      whatsoever,”

Defendant requests “the immediate vacation/extinguishment of the

void judgment . . . immediate release from unlawful imprisonment

. . . expungement of this judgment from [his] record . . . [and]

a check payable to [him] for ALL THE PROCEEDS FROM THIS CAUSE.”

Id. (emphasis in original).




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      Defendant’s motion is both procedurally improper and without

merit. First, there is no evidence that a “Verified Petition and

Brief to Vacate Judgment” was ever filed or served. Attached to

his motion, Defendant provided a copy of an envelope. Id. at 4.

The   envelope   was   addressed   to       “U.S.   DISTRICT    COURT,    EASTERN

DISTRICT OF LOUISIANA, 500 Poydras Street, New Orleans, LA 70130,”

listed as from “Eileen Raye, Omega-17/Paralegal Services, c/o P.O.

Box 5043, Hemet, California 92544,” and dated December 10, 2016.

Id. However, there is no evidence that the envelope contained a

“Verified Petition.” Nor is there any evidence that a complaint by

Defendant was ever filed in this case or in any section of this

Court.

      Second, even if Defendant filed a complaint with this Court

against the United States, a default judgment would be procedurally

improper. A plaintiff seeking a default judgment must proceed

through two steps. First, the plaintiff must show proper service

of the complaint and move for an entry of default, which is simply

“a notation of the party’s default on the clerk’s record of the

case.” Dow Chem. Pac. Ltd. v. Rascator Mar. S.A., 782 F.2d 329,

335 (2d Cir. 1986). Before entering a default, the plaintiff must

show “by affidavit or otherwise” that the defendant “failed to

plead or otherwise defend . . . .” FED. R. CIV. P. 55(a). Here,

Defendant failed to move for an entry of default before filing the

instant motion for a default judgment, let alone show actual proof

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of service. He also failed to provide an affidavit or any other

proof that the United States failed to plead or otherwise defend

the missing “Verified Petition.” Second, after a default has been

entered, the plaintiff may move for a default judgment. FED. R.

CIV. P. 55(b). By defaulting, the defendant admits the plaintiff’s

well-pleaded allegations of fact. Nishimatsu Constr. Co., Ltd. v.

Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975). However,

“[a] party is not entitled to a default judgment as a matter of

right” (Ganther v. Ingle, 75 F.3d 207, 212 (5th Cir. 1996)), the

Court does not have to accept either facts that are not well-

pleaded or conclusions of law (Nishimatsu, 515 F.2d at 1206), and

“the entry of [a] default judgment is committed to the discretion

of the district judge” (Mason v. Lister, 562 F.2d 343, 345 (5th

Cir. 1977)). Here, there is no underlying complaint for the Court

to consider. So, there are no pleaded facts, let alone well-pleaded

ones. Plus, the conclusions of law asserted by Defendant in his

motion, namely that this Court lacked subject matter jurisdiction

and violated his due process rights, would not have to be accepted

by this Court for purposes of a default judgment even if they were

included in an underlying complaint.

     Finally, Defendant’s motion lacks merit. This Court properly

exercised subject matter jurisdiction under 18 U.S.C. § 3231

(“[t]he district courts of the United States shall have original

jurisdiction, exclusive of the courts of the States, of all

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offenses against the laws of the United States.”). See also United

States v. Scruggs, 714 F.3d 258, (5th Cir. 2013) (“To invoke that

grant of subject matter jurisdiction, an indictment need only

charge a defendant with an offense against the United States in

language similar to that used by the relevant statute. That is the

extent of the jurisdictional analysis:          A federal criminal case is

within the subject matter jurisdiction of the district court if

the indictment charges . . . that the defendant committed a crime

described in Title 18 or in one of the other statutes defining

federal     crimes.”)   (internal    citations      and    quotation      marks

omitted).

     Here, the indictment charged Defendant with several federal

crimes under Titles 18 and 21 and used the language of the various

applicable statutes. See Rec. Doc. 31; 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A)-(C);       18      U.S.C.    §§      922(g)(1),       924(a)(2),

924(c)(1)(A)(i). Thus, this Court had subject matter jurisdiction

over this case and Defendant’s instant complaints are without

merit. Further, appellate review done in the Court of Appeals for

the Fifth Circuit would not have occurred without proper federal

jurisdiction.

     New Orleans, Louisiana, this 6th day of January, 2017.




                                    ___________________________________
                                    SENIOR UNITED STATES DISTRICT JUDGE

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